
PER CURIAM.
Appellant/defendant was charged with battery as an act of domestic violence under sections 784.03(1) and 741.28, Florida Statutes (1995). Contrary to appellant’s contention, the definition of “domestic violence” does not require that “physical injury or death” occur in conjunction with crimes enumerated in section 741.28(1). In that subsection, the phrase “resulting in physical injury or death pertains only to the generic term “criminal offense” immediately preceding it. The other crimes specified in the section, such as “assault,” fall within the definition of domestic violence if they are committed against “one family or household member by another who is or was residing in the same single dwelling unit,” even if the victim suffers no physical injury. See § 741.28(1), Fla. Stat. (1995).
Although the defendant’s family members were reluctant witnesses at trial, the court’s conviction of the defendant for battery upon his mother was supported by the mother’s testimony that she and her son “started fighting” and “were punching each other.” Also, the brother testified that the defendant and his mother were “tussling” and that his mother “fell to the ground.”
The disposition order placing the defendant on community control is affirmed.
DELL and GROSS, JJ. and OWEN, WILLIAM C., Jr., Senior Judge, concur.
